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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  IN RE EQUIFAX, INC., CUSTOMER                    MDL DOCKET NO. 2800
  DATA SECURITY BREACH                             1:17-md-2800-TWT
  LITIGATION
                                                   ALL CASES

                                            ORDER


       This is an MDL proceeding arising out of the Equifax data breach. It is

before the Court on the Motion to Amend Order Granting Final Approval of

Settlement by Mikell West [Doc. 969] which is GRANTED. An Amended Order

will be filed.

       SO ORDERED, this 17 day of March, 2020.


                                        /s/Thomas W. Thrash
                                        THOMAS W. THRASH, JR.
                                        United States District Judge




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